1 ` Case 4:18-cV-00202-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 1 of 35

FILED

UNITED STATES DISTRICT COURT APR 1 1 2018

NORTHERN DISTRICT OF OKLAHOMA
Mark C. McCartt, C|erk

EDIE WHITING, an individual, U-S- D'STRICT count

Pl ` t`ff,

13 CV ZOBJHP -JFJ
vs. CIVIL ACTION NO.
TRANSAMERICA OCCIDENTAL LIFE
INSURANCE COMPANY, a foreign
insurance company,

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Defendant.
NOTICE OF REMOVAL
TO THE HONORABLE COURT:

For the purpose of removing this action to the United States District Court for the
Northern District of Oklahoma, Defendant Transarnerica Life Insurance Company
(“Transarnerica”), successor by merger to Transamerica Occidental Life Insurance Company,
states as follows:

I. PROCEDURAL POSTURE - STATE COURT ACTION

l. Transarnerica is the proper Defendant in a civil action commenced in the
District Court of Tulsa County, Ol<lahorna, currently styled as Edie leiting, an individual v.
Transamerica Occidental Life Insurance Company, a foreign insurance company, Case
No. CJ-2018-00982. The named Defendant has been merged into Transamerica.

2. Tr'ansamerica Was served With the Surnmons and Petition on March 22, 2018.

3. The following constitutes all of the process, pleadings, and orders served upon
Transamerica in this action: The Surnmons and Petition, copies of Which are set forth as
Exhibits “A” and “B,” attached hereto and incorporated herein as part of this Notice of

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NOTICE OF REMOVAL PAGE l

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Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 2 of 35

Removal.

II. STATEMENT OF APPLICABLE LAW - DIVERSITY JURISDICTION
A. Diversity of Parties’ Citizenship

4. Plaintiff alleges that she is an individual residing in Tulsa County, Oklahoma.
(Petition 1[ 1).

5. Transamerica Life Insurance Company is the successor by merger to
Transamerica Occidental Life Insurance Company. Transamerica is alleged to be a foreign
insurance company. (Petition 11 2). Transamerica Life Insurance Company is organized and
existing under the Iowa law with its principal place of business in Cedar Rapids, Iowa.

6. Plaintiff and Transamerica are therefore citizens of different states.

B. Amount in Controversy

7. Plaintiff’ s Petition alleges that Edie Whiting, as the widow of Richard
Whiting, is entitled to the $100,000 death benefit under her deceased husband’s life
insurance policy. Plaintiff has sued for breach of contract, negligence, and breach of the
covenant of good faith and fair dealing. As a result, Plaintiff alleges that she is entitled to
recover judgment in an amount “in excess of the amount required for diversity jurisdiction
pursuant to Section 1332 of Title 28 of the United States Code plus interest, attorney fees,
costs and all other relief which the Court deems just and proper.” (See Petition, Prayer).

8. The Petition alleges that contract damages are $100,000 exclusive of interest
and costs. Because the Petition alleges an amount in controversy in excess of the
jurisdictional limit, diversity jurisdiction is “plain from the face of plaintifl"s complaint,”
l4A Charles Alan Wright et al., Federal Practice & Procedure § 3702 at 26; § 3725 at 223

(Supp. 1997). Here, on the face of Plaintist Petition, the amount in controversy exceeds

NOTICE OF REMOVAL PAGE 2

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 3 of 35

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the jurisdictional threshold for diversity jurisdiction exclusive of interest and costs.
C. Removal to this Court Is Therefore Proper

9. This Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332 in that this
is a civil action between citizens of different states and the amount in controversy exceeds
$75,000, exclusive of interest and costs. Accordingly, Transamerica removes this action to
federal court in accordance with 28 U.S.C. § 1441.
D. Removal is Timely

10. This Notice of Removal is filed within thirty (30) days after service on
Transamerica of the Summons and Petition.

WHEREFORE, Defendant Transamerica Life Insurance Company prays that the
above-entitled action be removed to this Court from the District Court of Tulsa County,
Oklahoma.

DATED: April 11, 2018.

NOTlCE OF REMOVAL PAGE 3

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 4 of 35

Respectfully submitted,

/s/Jeffi‘eKJ. Wolf
Jeffrey J. Wolf
Texas Bar No. 21849012
THE WOLF LAW FIRM, P.C.
1360 N. White Chapel Blvd.
Southlake, Texas 76092
Telephone: (817) 552-9653
Facsimile: (817) 552-0300
jwolf@Wolflawpc.com
ATTORNEYS FOR DEFENDANT
TRANSAMERICA LIFE INSURANCE

COMPANY

CERTIFICATE OF SERVICE

I hereby certify that on the 11th day of April, 2018, a true and correct copy of the

Patrick H. Kernan, OBA #493
Heritage Professional Plaza
425 East 22nd St; Ste 101
Owasso, OK 74055

(918) 376-4610

Fax: (918) 376-4993

pkernan@cox.net

and

Kris Ted Ledford, OBA #17552
Ledford Law Firm

Heritage Professional Plaza

425 East 22nd St; Ste 101

Owasso, OK 74055

(918) 376-4610

Fax: (918) 376-4993
lq'is@ledford-lawt`irm.com
ATTORNEYS FOR PLAINTIFF

/s/Jeffi'ev J. Wolf
Jeffrey J. Wolf

NOTlCE OF REMOVAL

above and foregoing was served via U.S. mail, postage prepaid thereon, to the following:

PAGE 4

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 5 of 35

EXhibit A-

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 6 of 35

IN 'I`HE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA

EDIE WHITING, an individual,
Plaintiff,

v. Case No. CJ-2018-0982

TRANSAMERICA OCCIDENTAL LIFE
INSURANCE COMPANY, a foreign insurance
company,

Defendant.

 

ALIAS SUMMONS

'I`o the above named Defendant: Transamerica Occidental Life Insurance Company
4333 Edgewood Rd NE
Cedar Rapids, lA 52499

You have been sued by the above-named Plaintiff and you are directed to file a written
Answer to the attached Petition in the court at the above address within twenty (20) days after
service of this Su.mrnons upon you, exclusive of the day of service. Within the same time, a copy
of your Answer must be delivered or mailed to the attorney for the Plaintiff.

Unless you answer the Petition within the time stated, judgment will be rendered against
you with costs of the action.

Issued this 19‘h day of March, 2018

 

(sEAL)

Attomey for Plaintiff: KR_IS TED LEDFORD
LEDFoRD LAW FiRM
Heritage P'rofe'ssional' Plaza
425 East 22nd Street, Suite 101
Owasso, OK 74055
Telephone: (918) 376-4610

This Summons was served on via certified mail.
(Date of Service)

YOU MAY SEEK THE ADVICE OF AN ATTORNEY ON ANY MATTER CONNECTED WITH THIS
SUIT OR YOUR ANSWER. SUCI-l ATTORNEY SHOULD BE CONSULTED IMMEDIATELY SO
THAT AN ANSWER MAY BE Fll_.ED WlTHIN THE TIME LlMIT STATED IN THE SUMMONS.

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Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 7 of 35

Exhibit B

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 8 of 35

IN THE DISTRICT COURT OF TULSA COUNTY
S'I`ATE OF OKLAHOMA

EDIE WHITING, an i_ndividual.
Plaintiff,

t ' nsaanaa»anaea

TRANSAMERICA OCCIDI:`,NTAL LIFE

 

INSURANCE COMPANY, a foreign insurance ,
company, .|UR'\ TRlAL DEMANDED
Defendanl. DANA LYNN KUEHN
PETITION

Plaintiff, Edie Whiting, for her cause of action against Defendant alleges and states as
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follows:
PARTrEs MAR ~ 6 2018
l. Edie Whitng is a resident of Tulsa County. gig¥,£%$’v¥)?<§§artyl'§:%rbgi?f$
2. Defendant, Transamerica Occidental Life insurance Company (“'l`ransamerica”),

is an insurance company with its principal place of business in the state of California and doing
business in 'I`ulsa County,
3. Venuc and jurisdiction are proper in this Couit.

FACTUAL ALLEGA'[`IONS

 

4. In April of 1997, Richard Whiting (“Mr. Whiting”) and Edie Whiting (“Ms.
A..`Whiting’?), husband and wife, both entered into twenty year term life insurance policies with`

Transamerica
5. Richard Whiting’s Transamerica life insurance policy (policy number 41289906)

has a face amount of SlO0,000 and names his spouse, Edie Whiting, as the sole beneficiary
6. As authorized by Transamerica, the Whitings set both Transamerica life insurance

policies up for automatic bank withdrawal of the monthly premiums Each month the combined

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 9 of 35

monthly premium of 825.66 was automatically withdrawn from thc Whitings’ bank account and
transferred to Transamerica

7. ln February of 2015. Mr. Whiting contacted Transamerica and changed the bank
for automatic bank withdrawal for both insurance policies from the Cherokee Strip Credit Union
to Arvcst Bank.

8. Unbeknownst to thc Whitings, Transamerica allegedly transferred the automatic
withdrawal for Ms. Whiting’s 'l`ransamerica life insurance policy to Arvcst Bank but failed to
transfer the automatic withdrawal for Mr. Whiting’s Transamerica life insurance policy to Arvest
Bank.

9. _ On October ll, 2016, Mr. Whiting died. See Certiticate of Death attached hereto
as Exhibit A.

lO. Shortly alter Mr. Whiting’s death, a close family member who was assisting Ms.
Whiting during this difficult time called Transamerica to initiate the process of Ms. Whiting
collecting the benefits on Mr. Whiting’s Transamerica life insurance policy. lnstead of assisting
Ms. Whiting with the claims process and paying the policy benefits, Transamerica claimed that
the insurance policy had lapsed. The close family member requested documentation supporting
Transamerica’s position and Transamerica forwarded a single letter~-a March 6, 2015 letter
which included the statement “ADDRESS UNKNOWN”just below Mr. Whiting’s name.

m ll. Sometime -ther'eafter,. les. Whiting called Transamerica on her own seeking to `
collect thc policy benefits on Mr. Whiting’s Transamerica life insurance policy. lnstead of

assisting her and paying the policy belieiits, Transamerica directed her to contact her agent, Paul

Rowlett (“Mr. Rowlett”).

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 10 of 35

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12. Ms. Whiting and Mr. Rowlctt subsequently placed a call to Transamerica to
inquire about the reason why Transamerica was refusing to pay Ms. Whiting the policy benefits
on Mr. Whiting’s Transamerica life insurance policy. The Transamerica representative again
claimed that the policy had lapsed. Mr. Rowlctt requested that Transamerica send Ms. Whiting
all documents showing how the policy allegedly lapsed including any notice letters and records
of phone calls.

13. After almost two months had passed without receiving any of the requested
documents from Transamerica, Ms. Whiting and/or Mr. Rowlett again placed a call to
Transamerica The Transamerica representative on this call stated that the policy had lapsed in
error and that Ms. Whiting had reason to complain about the lack of payment of the policy
benefits Al_though the Transamerica representative agreed to send the requested documents, no
further documents were provided

l4. Nearly a month later in early February of 201 8. Ms. Whiting called Transamerica
once again seeking the policy benefits to which she is entitled. During this call, the
Transamerica representative admitted that Transamerica has a recording of the telephone call
with Mr. Whiting from February of 2015 confirming that Mr. Whiting directed Transamerica to
change the automatic bank Withdrawal for both insurance policies to Arvcst Bank. 'l"he
Transamerica representative further admitted the lapse in Mr. Whiting’s Transamerica life
insurance policy was the fault of Transamerica and stated that she would contact her superiors n
about the situation. In the month since this call, Transamerica has not made any attempt to

contact Ms. Whiting or pay her the policy benefits due to her.

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 11 of 35

COUNT 1 - BREACH OF CONTRAC’]`

15. Upon the death of Mr. Whiting, Ms. Whiting was entitled to receive the $100,000
policy benefits because she is the beneficiary under Mr. Whiting`s 'l`lansamerica life insurance
policy.

16. Transamerica breached the terms of Mr. Whiting’s Transamerica life insurance
policy by refusing to pay the $100,000 policy benefits to Ms. Whiting.

l7. As a result of Transamerica’s breach, Ms. Whiting has incurred damages in the
amount of $l 00.000.

COUNT II - NEGLIGENCE

18. When Mr. Whiting contacted Transamerica in February of 2015 to change the
automatic bank withdrawal for both insurance policies to Arvest Bank, Transamerica negligently
failed to make this change and ensure that Mr. Whiting’s Transamerica life insurance policy was
in full force and effect.

19. As a result of 'l`ransamerica's negligence, Mr. Whiting’s Transamerica life
insurance policy allegedly lapsed thereby causing damages to the beneficiary, Ms. Whiting, in
the amount of $l 00,000.

COUNT IIl - BREACH OF THE DUTY OF GOOD FAITH AND FAIR DEALING

20. ln its handling of Ms. Whiting’s claim after Ms. Whiting made repeated attempts
to obtain the policy benefits due to her under Mr.` Whiting’s Transamerica life insurance policy,
Transamerica breached the duty of good faith and fair dealing implied in all insurance contracts.

21 . Transamerica’s tortious conduct included its refusal to investigate or even
consider this widow’s claim despite knowing from its own records that the alleged lapse in Mr.

Whiting’s Transamerica life insurance policy was the fault of Transamerica

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 12 of 35

22. Ms. Whiting has been damaged as a result of Transamerica’s tortious conduct

23. Transarnerica`s actions were intentional, malicious, and/or in reckless disregard

for the rights of others thereby warranting the imposition of punitive damages against

Transamerica

WHEREFORE, Ms. Whiting demands judgment against Transamerica in an amount

which is in excess of the amount required for diversity jurisdiction pursuant to Section 1332 of

Title 28 of the United States Code plus interest, attorney fees, costs, and all other relief which the

Court deems just and proper.

ATTORNEY’S LIEN CLAlMED

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Respectfully submitted,
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FATRICK H`. 'Kl':'RNAN, OBA #4983
Heritage Profcssional Plaza

425 Easr 22nd street suite 101
Owasso, OK 74055

Telephone: (918) 3 76~4610
Facsimile: (91 8) 376¢4993

Email : pkernan@cox.net

and

KR.IS 'I`ED LEDFORD, OBA #17552
LEDFoRD LAW FrRM

Heritage Professiona] Plaza

425 East 22"d Street, Suite 101
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~ Telephone: (918) 376-4610

Facsimile: (918) 376-4993
Email: kris@ledford~lawfirm.com

A llorneys for Plainti]j`

 

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 13 of 35

 

   

 

 

 

  
 
 
  
 
  

  

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Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 14 of 35

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Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in_ USDC ND/OK on 04/11/18 Page 15 of 35

' ‘ 'l' COURT
DIS RIC § §§

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srATE or or<LAHoMA rv»,/\p\ ~ 6 ?0\8

EDIE WHITING, an individual, V.JBERRY Court Clark
. . U$CN§F OKl l\ TU\. SA 'SOU\`~Y\'Y
Plaintiff,

v- ' ~ hams-asi s m o o a a s

TRANSAMERICA OCCIDEN'I`AL LIFE

 

INSURANCE COMPANY, a foreign insurance
company, cans LYNN auer-rs
Defendanr.
ENTR\' OF APPEARANCE

 

COMES NOW, Kris Ted Ledford, of thc Ledford Law Firrn, and does hereby enter his
appearance as counsel for Plaintiff, Edie Whiting.

DATED: March 6., 2018.

Respecdully submitted,

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mills rnr’) r r -r)'r or r)", on/\/ #17552
LEoFoRD LAwl~` rn

Heritage Prol`essional Plaza

425 East 22"" Sneet, Suite 101
Owasso, OK 74055

Telephone: (91 8) 376-4610
Facsimile: (918) 376-4993

Email: kris@]edford-lawlirm.com

Attorney]br Plai)zli]_’fEdie Whiting

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 16 of 35

DIS RIC'l‘ COURT

IN THE DISTRICT COURT OF TULSA C§ lN Y '
STATE OF OKLAHOMA MAR _ 6 '}_n\g
F.DIF. WHITING` an individual, DON NEWBEHHY L;our'r\- ich

Plaintiff sure or- or<ur ru s»\C~O\"""

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TRANSAMERICA OCCIDENTAL LIFE
INSURANCE COMPANY, a foreign insurance

company, DANA LYNN KUEHN

Defendant.

 

ENTRY oF APPEARANCE `
COMES NOW, Patrick l-l. Kernan and does hereby enter his appearance as counsel for

Plaintiff, Edie Whiting.

DATED: March 6, 2018.

Respeetfull y submitted,

///'//;/ '/
//X//‘:Z ”:[/_ /-,’f/"/’ 1"/

PATRICK H.l\ l3RNAN, OBA #4983
Heritage Professional Plaza

425 East 22"" Street, Suite 101
Owasso, OK 74055

Telephone: (918) 376-4610
Pacsimile: (918) 376-4993

Email: pkcrnan((l)cox.net

Attorneyfor Plrzinlij]’Edie Whiting

 

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 17 of 35

IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA

l

EDIE WHITI`NG, an individual,
Plaintiff`,

v. Case'No. C.l-2018-0982

TRANSAMERICA OCCIDENTAL LIFE
INSURANCE COMPANY, a foreign insurance
company,

Defendant.

PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION TO_ DEFENDANT

Pursuant to 12 O.S. §3234 of the Oklahoma Discovery Code, Plaintiff`, Edie Whiting

 

(“Ms. Whiting”), hereby serves Defendant with her First Set of Requests for Production. In

accordance with the definitions and instructions set forth below, Defendant should produce all

responsive documents and things in the possession, custody, or control of Defendant, or

alternatively respond in writing as to why said documents cannot, should not, or will not be

produced. Said production shall be made at the offices of Ledford Law Firm, 425 E. 22"d Street,
Suite 101, Owasso, OK 74055 within forty-five (45) days from the date of service hereof`.

INSTRUCTIONS

1. In producing documents and things responsive to these requests, identify the

_ requests to which each produced document or thing is responsive If a document or thing is

responsive to more than one Request, each Request to which it is responsive should be identified.

2. Documents from any single file should be produced in the same manner as they

were found in such file.

Case 4:18-cV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 18 of 35

3. If copies of documents are produced in lieu of originals, copies should be legible
and bound or stapled in the same manner as the originals. Plaintiff will pay reasonable copying
costs. Electronic production of documents via a CD is acceptable and preferable.

4. If a document is withheld from production on grounds of privilege or work-
product immunity, (i) identify the document with sufficient particularity to allow the matter to be
brought before the Court, including a description of the document's type (e.g., letter,
memorandum, report), subject matter, date, its author(s) and addressee(s), and the identity of its
custodian, and (ii) state, briefly the legal and factual basis for the claim of privilege or work-
product immunity.

5. If any document or thing requested herein was formerly in your possession,
custody or control, and has been lost or destroyed, in lieu of production of such document,
(i) identify the document's type (e.g., letter, memorandum, report), subject matter, date, its
author(s) and addressee(s), and the identity of its custodian, and (ii) state, to the extent possible,
the date on which the document was lost or destroyed, and if destroyed, the conditions of and
reasons for such destruction and the identity of the person(s) requesting and performing such
destruction.

6. A request for each document or thing that "refers," "relates," or is "relating" to a
specified subject matter extends to each document that (i) constitutes, (ii) contains, (iii.) supports,
(iv) modifies, contradicts, criticizes, discusses, mentions or describes, (v) records, reports,
reflects, relates to, or pertains to, (vi) was prepared in connection with, (vii) arises from, or (viii)
is or has been collected, recorded, examined or considered by, for or on behalf of any present or
former agent, representative, officer, director, employee, attorney or other person acting or

purporting to act on Defendant’s behalf in relation to the subject matter specified

Case 4:18-CV-00202-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 19 of 35

7. These are continuing Requests for Production. If, after making your initial
production, you obtain or become aware of any further documents or things responsive to this
request, you are required to produce such additional documents or things to Plaintiff and- to
supplement your response and production pursuant to 12' O.S. § 3234.

DEFINITIONS

1. The term “DOCUMENT” or “DOCUMENTS” as used herein, means any written,
typed, graphic or printed matter, in its entirety, including any addenda, supplements,
amendments, revisions, exhibits and appendices thereto and in its original form (or copies
thereof where originals are unavailable) together with any copies thereof bearing notations,
memoranda or other written information not on the original, including, but not limited to books,
manuals, pamphlets, notebooks, correspondence, court or administrative agency orders,
telegrams, notes, notes of tape or sound recordings of any type of telephone conversations or of
meetings or conferences, notes of tape or sound recordings of any type of statement of witnesses
or of your employees, agendas, minutes of meetings, memoranda, intra-ofiice and inter-office
communications, studies, analysis, results of investigations, reviews, contracts, licenses,
agreements, ledgers, books of account, vouchers, bank checks and drafts, invoices, charge slips,
hotel charges, receipts, freight bills, working papers, statistical records, cost sheets, abstracts of

. _bids, stenographer’s notebooks,_ desk calendars, appointment books, diaries, time sheets or logs,
computer input data, computer output data, computer runs worksheets or work-papers, or other
materials, including all such information by your accountant or attorneys to you. T he term
“DOCUMENT” or “DOCUMENTS” expresst includes all writings similar to any of the
foregoing including e-mail or other such information located, contained, or stored on hard disks,

floppy disks, hard drives or other computer related storage media, whether or not generated

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 20 of 35

initially by a computer related media. The term “DOCUMENT” or “DOCUMENTS” also
includes maps, diagrams, photographs, videos, films, DVDs, and CDs.

2. When used in these Discovery Requests, the terms ~“YOU” and “YOUR” are
intended to and shall embrace and include Defendant and any other entity/person or
entities/persons acting for or on behalf of Defendant.

3. "COMMUNICATION" means any oral, written, mechanical, electronic or other
transmission of words, symbols, numbers or information, including, but not limited to,
correspondence, memoranda, telephone conversations, or notes, recordings, transcriptions of
meetings or of telephone conversations, e-mail, facsimile, teletype, telegram, or any other
document that recorded or reflected any such communication

4. The word "PERSON" and "PERSONS" include, without limitation, individuals,
associations, partnerships, and corporations

5. "And" and "or" shall be construed disjunctively or conjunctively as necessary in
order to bring within the scope of the individual request for documents, all documents which
might otherwise be construed to be outside its scope.

6. In construing these discovery requests, the singular shall include the plural and
the plural shall include the singular. Any prono\m means the masculine, feminine and neuter
gender and the singular or plural as in each case may be appropriate The use of a verb in any
tense shall be construed as the use of the verb in all tenses as is necessary to bring within the
scope of a discovery request all responses that might otherwise be construed to be outside its
scope.

7. As used herein, the phrases “refer or relate to”, “relating to”, or “relative to”

include relating to, referring to, alluding to, responding to, concerning, in connection with,

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 21 of 35

commenting on or in respect of, about, regarding, discussing, showing, describing, mentioning,
retiecting, analyzing, constituting, evidencing or pertaining to.

8. As used herein, “WHITING LIFE INSURANCE POLICY” shall mean Richard

' Whiting’s Transamerica life insurance policy (Policy # 41289906) which has a face amount of
$100,000 and names his spouse, Edie Whiting, as the sole beneficiary.
RE UESTS FOR PRODUCTION

REQUEST FOR PRODUCTION NO. 1: Produce all DOCUMENTS relating to the
WHITING LIFE INSURANCE POLICY. See definitions set forth above and note that this
Request expressly includes any information stored electronically including any external or
internal emails and/or electronically stored call notes,

REQUEST FOR PRODUCTION NO. 2: Produce a_ll COMMUNICATIONS relating
to the WHITING LIFE INSURANCE POLICY.

REQUEST FOR PRODUCTION NO. 3: Produce all proofs of mailing relating to all
written COMMUNICATIONS ti'om January l, 2014 to the present relating to the WHITING
LIFE INSURANCE POLICY. 'Ihis Request includes but is not limited to any postal service
receipts and/or photographs of mailing.

REQUEST FOR PRODUCTION NO. 4: Produce all DOCUMENTS relating to any

. written COMMUNICATIONS from January l, 2014 tov the present relating _to the WHITING
LIFE INSURANCE POLICY which were returned to YOU as undeliverable. This Request
includes but is not limited to any envelopes returned to YOU.

REQUEST FOR PRODUCTION NO. 5: Produce a_ll audio recordings and any

transcriptions of audio recordings for all telephone conversations relating to the WHITING LIFE

INSURANCE POLICY.

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 22 of 35

REQUEST FOR PRODUCTION NO. 6: Produce all DOCUMENTS relating to the
handling of claims which are contained in the personnel file(s) of any adjuster or claim
representative who participated in the handling of any claim relating to the WHITING LIFE
INSURANCE POLICY. This Request is expressly limited to documents such as performance
reviews, write-ups, commendations, bonuses, and other documents which concern the handling
of claims by these employees. Plaintiff is n_ot seeking any documents relating to_ health insurance
- or any private health information of these employees. Plaintiff is agreeable to executing an
appropriate protective order which allows for production of the requested documents but has
reasonable protections for any private information of these employees.

REQUEST FOR PRODUCTION NO. 7: Produce all DOCUMENTS that serve as
policies, procedures, manuals, guides, directives, or other documents which provide any form of

directions or guidance on how requests for changes to automatic bank withdrawals are handled

by YOU.

REQUEST FOR PRODUCTION NO. 8: Produce a certified copy-of the WHITING
LIFE INSURANCE POLICY.

REQUEST FOR PRODUCTION NO. 9: Produce all DOCUMENTS relating to any
complaints filed with the Oklahoma State Department of Insurance within the past five (5) years
relating to claims on life insurance policies which were handled_by YOU.

REQUEST F()R PRODUCTION NO. 10: Produce all Oklahoma Department of

Insurance market conduct audits relating to YOUR handling of life insurance claims in the State

of Oklahoma since January l, 2013.

REQUEST FOR PRODUCTION NO. 11: Produce the DOCUMENTS from Which

you determined YOUR net worth as stated in response to Interrogatory No. 9.

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 23 of 35

REOUEST FOR PRODUCTION NO. 12: Produce all DOCUMENTS relating to any
affirmative defense raised in YOUR Answer.
REOUEST FOR PRODUCTION NO. 13: Produce all DOCUMENTS relating to any

' other defense YOU have` in this lawsuit.

REOUEST FOR PRODUCTION NO. 14: Produce all exhibits YOU intend to

introduce at the trial of this matter.

    

Respectfull_ submitted,

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Owasso, OK 74055
Telephone: (91 8) 376-4610
Facsimile: (918) 376-4993
Email: pkeman@cox.net

and

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Facsimile: (918) 376-4993

Email: kris@ledford-lawtirm.com

Attorneysfor Plaintij_’f

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Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 24 of 35

IN THE DISTRICT COURT OF TULSA COUNTY
STATE OF OKLAHOMA

EDIE WHITING, an individual,
Plaintiff,

v. Case No. CJ-2018~O982

TRANSAMERICA OCCIDENTAL LIFE
INSURANCE COMPANY, a foreign insurance
company,

Defendant.

 

PLAINTIFF’S FIRST SET OF INTERROGATORIES TO DEFENDANT

Pursuant to 12 O.S. §3233 of the Oklahoma Discovery Code, Plaintiff, Edie Whiting
(“Ms. Whiting”), hereby serves Defendant with her First Set of Interrogatories to be answered in
writing and under oath within forty-five (45) days of the date of service.

DEFINITIONS

l. When used in these Discovery Requests, the terms “YOU” and “YOUR” are
intended to and shall embrace and include Defendant and any other entity/person or
entities/persons acting for or on behalf of Defendant.

2. The terms “allegation” and “allegations” shall mean and refer to allegations
contained in Plaintiff’ s Petition.

. 3. “Person” shall refer to any. natural person, firm, association, partnership,

corporation, or other form of legal business entity.

4. “IDENTIFY” when used with respect to an individual means to state such

individual’s narne, last known address, and last known telephone number.

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 25 of 35

5. “IDENTIFY” when used with respect to an organization (e.g., a corporation,
partnership, or association) means to state the name of such organization, type of such
organization, and the last known address and telephone number of its principal place of business.

'6. “IDENTIFY” when used with respect to a document means to describe such
document with sufficient particularity in order to enable one to describe it adequately in a
Request for Production of Documents. In lieu of such document identification, you may produce
with your answers to these Interrogatories a legible copy of the document you are asked to
identify, indicating the Interrogatory to which the document is responsive.

7. These Interrogatories are continuing requests, Consequently, if any information
you did not or could not provide for any reason is obtained, or if information formerly unknown
to you is discovered which is covered by these Interrogatories, you should immediately prepare
supplemental Interrogatory responses.

8. The term “DOCUMENT” or “DOCUMENTS” as used herein, means any written,
typed, graphic or printed matter, in its entirety, including any addenda, supplements,
amendments, revisions, exhibits and appendices thereto and in its original form (or copies
thereof where originals are unavailable) together with any copies thereof bearing notations,
memoranda or other written information not on the original, including, but not limited to books,
manuals, pamphlets, notebooks, . correspondence, court or administrative agency orders,
telegrams, notes, notes of tape or sound recordings of any type of telephone conversations or of
meetings or conferences, notes of tape or sound recordings of any type of statement of witnesses
or of your employees, agendas, minutes of meetings, memoranda, intra-office and inter-office
communications, studies, analysis, results of investigations, reviews, contracts, licenses,

agreements, ledgers, books of account, vouchers, bank checks and drafts, invoices, charge slips,

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Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 26 of 35

hotel charges, receipts, freight bills, working papers, statistical records, cost sheets, abstracts of
bids, stenographer’s notebooks, desk calendars, appointment books, diaries, time sheets or logs,
computer input data, computer output data, computer runs worksheets or work-papers, or other
materials, including all such information by your accountant or attorneys to you. T he term
“DOCUMENT" or “DOCUMENTS” expressly includes all writings similar to any of the
foregoing including e-mail or other such information located, contained, or stored on hard disks,
jloppy disks, hard drives or other computer related storage media, whether or not generated
initially by a computer related media The term “DOCUMENT” or “DOCUMENTS” also
includes maps, diagrams, photographs, videos, tilms, DVDs, and CDs.

9. As used herein, the phrases “relating to” or “relative to” include relating to,
referring to, alluding to, responding to, conceming, in connection with, commenting on or in
respect of, about, regarding, discussing, showing, describing, mentioning, reflecting, analyzing,
constituting, evidencing or pertaining to.

lO. “DESCRIBE” or “IDENTIFY” when used with respect to a statement or
communication means to identify the person making the statement or communication, the date it
was made, the person or persons to whom the communication was made and who witnessed the
same, the contents of the communication and the place where it was made.

11. ‘_‘DESCRlBE” when used in connection with an act means to provide the identity . .
of the actor, the specific nature of the act, the date and place of the act and the identities of the
individuals present.

12. "COMMUNICATION" means any oral, written, mechanical, electronic or other
transmission of words, symbols, numbers or information, including, but not limited to,

correspondence, memoranda, telephone conversations, or notes, recordings, transcriptions of

Case 4:18-CV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 27 of 35

meetings or of telephone conversations, e-mail, facsimile, teletype, telegram, or any other
document that recorded or reflected any such communication

13. The word “transaction” refers to any agreement, contract, promise, oral
contmunication, exchange of assets, monies, services, labor, equipment, documents, or writings,
sale, loan, gift, transfer, note, mortgage, security agreement, the conduct of any business
negotiation, management, meeting, conference, function and any interaction between two or
more persons by which one person can derive impressions or information from the conduct,
condition, or language of the other, and vice versa, which did or did not change the condition,
asset or knowledge of any person directly or indirectly involved.

14. “And” or “or” shall be construed both disjunctively and conjunctively.

15. In construing these discovery requests, the singular shall include the plural and
the plural shall include the singular. Any pronoun means the masculine, feminine and neuter
gender and the singular or plural as in each case may be appropriate. The use of a verb in any
tense shall be construed as the use of the verb in all tenses as is necessary to bring within the
scope of a discovery request all responses that might otherwise be construed to be outside its
scope.

16. As used herein, “WHITING LIFE INSURANCE POLICY” shall mean Richard
Whiting’s Transamerica life insurance policy (Policy # 41289906) which has a face amount of , _ _
$100,000 and names his spouse, Edie Whiting, as the sole beneficiary.

FIRST SET OF INTERROGATORIES

 

INTERROGATORY NO. 1: IDENTIFY all DOCUMENTS relating to the WHITING
LIFE INSURANCE POLICY.

Case 4:18-oV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 28 of 35

INTERROGATORY NO. 2: IDENTIFY all persons Who participated in the handling
of any claims made on the WHITING LIFE INSURANCE POLICY. In addition, state each
person’s title and how long they have worked for YOU.

INTERROGATORY NO. 3: IDENTIFY the supervisors for each person who was
identified in response to Interrogatory No. 2. In addition, state each supervisor’s title, how long
they have worked for YOU, and identify each person from those listed in response to
Interrogatory No. 2 whom they supervise.

INTERROGATORY NO. 4: IDENTIFY all phone calls between YOU and Richard
Whiting regarding the WHITING LIFE INSURANCE POLICY. In addition, IDENTIFY YOUR
representative for each call.

INTERROGATORY NO. 5: IDENTIFY all phone calls between YOU and Edie
Whiting regarding the WHITING LIFE INSURANCE POLICY. In addition, IDENTIFY YOUR
representative for each call.

INTERROGATORY NO. 6: IDENTIFY all phone calls between YOU and Paul
Rowlett regarding the WHITING LIFE INSURANCE POLICY. In addition, IDENTIFY YOUR
representative for each call.

INTERROGATORY NO. 7: IDENTIFY all phone calls between YOU and any person
calling for or on behalf of Edie Whiting regarding the WHITING LIFE INSURANCE POLICY.
In addition, IDENTIFY YOUR representative for each call.

INTERROGATORY NO. 8: DESCR_IBE in detail the complete factual basis for any
affirmative defense raised in YOUR Answer.

INTERROGATORY NO. 9: State your net worth and IDENTIFY the

DOCUMENT(S) from which the stated figure was determined.

Case 4:18-oV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 29 of 35

INTERROGATORY NO. 10: IDENTIFY all of the individuals whom YOU intend to
call as expert witnesses at the time of trial by listing their name, business address, telephone number
and the following:

(a) the subject matter on which each expert wimess is expected to testify;

(b) the substance of the facts and opinions to which the expert is expected to
testify and a summary of the grounds for each opinion;

(c) the qualifications of each expert, including a list of all publications authored
by the expert witness within the preceding ten (lO) years;

(d) the compensation to be paid to the expert witness for the testimony and
preparation for the testimony; and

(e) a listing of any other cases in which the expert witness has testified as an
expert at trial or by deposition within the preceding four (4) years.

INTERROGATORY NO. 11: IDENTIFY all persons YOU intend to call as witnesses
at the trial of this matter and provide a summary of each person’s anticipated testimony.
INTE_RROGATORY NO. 12: IDENTIFY all DOCUMENTS YOU intend to use as

exhibits at the trial of this matter.

Respectfully submitted,

 

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and

Case 4:18-oV-OO2O2-.]HP-.]F.] Document 2 Filed in USDC ND/OK on 04/11/18 Page 30 of 35

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Email: kris@ledford-lawfirm.com

Attorneysjbr Plaintiff

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is provided in compliance with the Oklahoma Open Records Act, 51 O.S. 24A.1. Use of this information is
governed by this act, as well as other applicable state and federal |aWs.

lN THE DlSTRlCT COURT lN AND FOR TULSA COUNTY, OKLAHOMA

No. CJ-2018-982

ED|E WH|T|NG, 4 (Civil relief more than $10,000: BREACH OF
Plaintiff, AGREEMENT - CONTRACT)

v.

TRANSAMER|CA OCC|DENTAL L|FE Filed: 03/06/2018

|NSURANCE COMPANY,
Defendant.

Judge: Kuehn, Dana '
PARTlES

TRANSAMER|CA OCCIDENTAL L|FE lNSURANCE COMPANY, Defendant
WH|T|NG, ED|E, Plaintiff

ATTORNEYS
Attorney Represented Parties
KERNAN, PATRICK (Bar#4983) WH|T|NG, ED|E

15 W. 6TH ST., STE. 2700
TULSA, OK 74119

LEDFORD, KR|S TED (Bar #17552) WH|T|NG, ED|E
HER|TAGE PROFESS|ONAL PLAZA

425 E 22ND ST., SU|TE 101

OWASSO, OK 75055

EVENTS

None

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|SSUES

For cases filed before 1/1/2000, ancillary issues may not appear except in the docket.

lssue # 1. |sSue: BREACH OF AGREEMENT - CONTRACT (CONTRACT)
Filed By: WH|T|NG, EDIE
Filed Date: 03/06/2018

Party Name Disposition
|nformation
Defendant:
TRANSAMER|CA OCC|DENTAL L|FE |NSURANCE COMPANY
DOCKET
Date Code Description Count Party

03-06-2018 TEXT

03-06-2018 CONTRACT
03-(_)6-2018 DMFE
03-06-2018 PFE1

03-06-2018 PFE7
03-06-2018 OC|SR
03-06-2018 OCJC
03-06-2018 OCASA

03-06-2018 SSFCHSCPC

03-06-2018 CCADM|NCSF

ClVlL REL|EF l\/lORE THAN $10,000 |N|TlAL 1
F|L|NG.

BREACH OF AGREEMENT - CONTRACT
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LAW L|BRARY FEE

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OKLAHOMA COUNC|L ON JUD|C|AL
CO|V|PLA|NTS REVOLVING FUND

OKLAHOMA COURT APPO|NTED SPEC|AL
ADVOCATES

SHER|FF'S SERV|CE FEE FOR
COURTHOUSE SECUR|TY PER BOARD OF
COUNTY CO|V||\/l|SS|ONER

COURT CLERK AD|V||N|STRAT|VE FEE ON
COURTHOUSE SECUR|TY PER BOARD OF
COUNTY COl\/ll\/I|SS|ONER

03-06-2018 CCADl\/||NO155 COURT CLERK AD|\/l|N|STRAT|VE FEE ON

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$1.55 COLLECT|ON

Amount

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$ 163.00

$ 6.00
$ 25.00

$1.55

$ 5.00

$ 10.00

$1.00

$0.16

4/11/2018

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age 3 of 5
Date Code Description Count Party Amount
03-06-2018 SJF|S STATE JUD|C|AL REVOLV|NG FUND - $ 0.45
|NTERPRETER AND TRANSLATOR
SERV|CES
03-06-2018 DCADM|N155 DlSTRlCT COURT ADIV||N|STRAT|VE FEE ON $ 0.23
$1.55 COLLECTIONS
03-06-2018 DCAD|V||N05 DlSTRlCT COURT ADM|NISTRAT|VE FEE ON $ 0.75
$5 COLLECTIONS
03-06-2018 DCADM|NCSF DlSTRlCT COURT ADl\/|IN|STRAT|VE FEE ON $ 1.50
COURTHOUSE SECURITY PER BOARD OF
COUNTY COMM|SS|ONER
03-06-2018 CCAD|V||N04 COURT CLERK ADM|NISTRAT|VE FEE ON $ 0.50
COLLECT|ONS
03-06-2018 LTF LENGTHY TR|AL FUND $ 10.00
03-06-2018 SMF SUMMONS FEE (CLERKS FEE) $ 10.00
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ATTORNEY
03-06-2018 d EAA ENTRY OF APPEARANCE PATRICK H WH|T|NG,
KERNAN ENTER|NG AS COUNSEL ED|E
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LEDFOR ENTER|NG AS COUNSEL ED|E
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Date _ Code
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03-19-2018 ACCOUNT

Description Count Party Amount

RECE|PT # 2018-3724684 ON 03/06/2018.
PAYOR: LEDFORD LAW FlRl\/l PLLC TOTAL
AlVlOUNT PA|DZ $ 242.14.

L|NE |TEl\/lS:

CJ-2018-9822 $173.00 ON AC01 CLERK
FEES.

CJ-2018-9822 $6.00 ON AC23 LAW L|BRARY
FEE C|V|L AND CRll\/llNAL.

CJ-2018-9822 $1.66 ON AC31 COURT CLERK
REVOLV|NG FUND.

CJ-2018-9821 $5.00 ON AC58 OKLAHOMA
COURT APPO|NTED SPEC|AL ADVOCATES.
CJ-2018-9822 $1.55 ON AC59 COUNC|L ON
JUD|C|AL COMPLA|NTS REVOLV|NG FUND.
CJ-2018-9822 $7.00 ON AC64 DlSPUTE
MED|AT|ON FEES C|VIL ONLY.
CJ-2018-9822 $0.45 ON AC65 STATE
JUD|C|AL REVOLV|NG FUND,
lNTERPRETER SVCS.

CJ-2018-9822 $2.48 ON ACG7 DlSTRlCT
COURT REVOLV|NG FUND.

CJ-2018-982! $25.00 ON AC79 OC|S
REVOLV|NG FUND.

CJ-2018-9821 $10.00 ON AC81 LENGTHY
TR|AL FUND.

CJ-2018-9821 $10.00 ON AC88 SHER|FF’S
SERV|CE FEE FOR COURT HOUSE
SECURlTY.

AL|AS SUMMONS FEE $ 10.00

AL|AS SUMMONS |SSUED lVlA|LED BY
ATTORNEY

RECE|PT # 2018-3731340 ON 03/19/2018.
PAYOR: LEDFORD LAW TOTAL AlVlOUNT
PA|DI $ 10.00.

L|NE |TEl\/lS:

CJ-2018-982: $10.00 ON ACO1 CLERK FEES.

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